                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION-DETROIT


IN RE: Curtis Rayner
                                                                      CHAPTER 13
                                                                      CASE NO. 18-51763
                                                                      JUDGE Maria Oxholm
                                   Debtor(s).
_______________________________________/


                                                         AFFIDAVIT

STATE OF MICHIGAN                          )
                                           )SS
COUNTY OF WASHTENAW                        )

        I, Curtis C. Rayner being first duly sworn and deposed, state:

        1. I reside at 750 Ellery Avenue, Jackson, MI 49202.

        2. I filed a Chapter 13 Bankruptcy on August 24, 2018.

        3 I am disabled and my only sources of income are from social security and pension.


 Date March 19, 2019                                 Signature    /s/ Curtis C. Rayner
                                                                  Curtis C. Rayner



Subscribed and sworn to before me this 19th day of March, 2019.



 Signature    /s/ Kimberly D. Justice

         Public, State of Michigan
         My Commission Expires 04/24/2022
         Acting in Washtenaw




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